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     REQUESTING CENTRAL AUTHORITY OR APPLICANT: FRANCE

     REQUESTED CENTRAL AUTHORITY: UNITED STATES OF AMERICA

     Concerns the following children:

     1 - CHILDREN IDENTITIES AND IDENTITIES OF THEIR PARENTS

              1 - THE CIDLDREN

                               Paris, Eva, Female
                               Born January 15th, 2015 in Ashland, Oregon

                               Paris, Juliette, Female
                               Born January 15th, 2015 in Ashland, Oregon


              Habitual residence before the children abduction or possession in foreign countries:

              4 rue Malher, 75004 Paris from September 2019 to July 2022
              Then:
              13 rue Ferdinand Duval, 75004 since July 2022


              Description (see picture exhibit n°2):



 2-PARENTS

              2.1-Mother

                              Last name and first names: BROWN Heidi
                              Date and place of birth: March 30st, 1982 in Ashland, Oregon
                              Citizenship: Amercian
                              Occupation: Head of Marketing
                              Habitual residence:
                              4 rue Malher, 75004 Paris from September 2019 to July 2022
                              Then:
                              13 rue Ferdinand Duval, 75004 since July 2022
                              Then:
                              665 Leonard Street, Ashland, OR 97520
                              Then:
                              2256 Abbott Ave, Ashland, OR 97520


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     2.2- Father

            Last name and first names: Paris Arnaud
            Date and place of birth: April 14th , 1978 in Longjumeau, France
            Citizenship: French-American
            Occupation: Technical Director VR
            Habitual residence:
            4 rue Malher, 75004 Paris from September 2019 to July 2022
            Then:
            13 rue Ferdinand Duval, 75004 since July 2022



     2.3 - Date and place of the wedding

     Not married


3 - REQUESTING PARTY OR INSTITUTION


     Last name and first names: PARIS Arnaud
     Date and place of birth: April 14th, 1978 in Longjumeau, France
     Citizenship: French-American
     Occupation: Technical Director VR
     Habitual residence:
     4 rue Malher, 75004 Paris from September 2019 to July 2022
     Then:
     13 rue Ferdinand Duval, 75004 since July 2022
     Relationship with the children: Father

     Represented Pro Per in France.



4 - PLACE WHERE THE CIDLDREN ARE SUPPOSED TO BE

     4.1 - Information about the person who is suspected of having abducted or of currently
     keeping the child:

            Last name and first names: Brown Heidi
            Date and place of birth: March 30st, 1982 in Ashland, Oregon
            Citizenship: American
            Occupation: Head of Marketing
            Habitual residence:
            4 rue Malher, 75004 Paris from September 2019 to July 2022
            Then:


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              13 rue Ferdinand Duval, 75004 since July 2022
              Then:
              665 Leonard Street, Ashland, OR 97520
              Then:
              2256 Abbott Ave, Ashland, OR 97520


       4.2 - Current address of the children:

               Unknown, possibly 2256 Abbott Ave, Ashland, OR 97520


5 - HOUR, PLACE, DATE AND CIRCUMSTANCES OF THE CHILDREN ABDUCTION


Mother was spending her visitation time with the kids in France per the French judgment during the
spring vacation from April 5th to April 13th. Mother came to France to see the girls with her mother,
Margareth Brown Olson, and she had planned to spend their vacation time with the girls during that
week in the South of France at the Holiday Inn in Perpignan.

On Monday April 8th, Mother, Grandmother and the children left the Holiday Inn leaving behind the
girls' luggage in the morning and started an escape out of Europe through Spain which put Mother and
Grandmother in full violation of the restraining order that required that the children stay in France
during her visitation time.

It is believed that they went through an illegal way to then leave Europe avoiding passport control of
the children that would have normally resulted in an alert that the children were not to leave France nor
Europe under the restraining order. Their escape route most likely was to reach Morocco by boat from
Spain and from there the boarded a plane to the US.

In order to prevent the children from raising an alert during that escape, Mother prevented any
communication to happen with Father since Saturday April 6th and even left behind all the smart
devices from the children and their luggage in the hotel room to make sure they couldn't be located
during their escape from France and Europe.

On Thursday April 11 th Mother failed to participate to an online mediation with Father and in the
afternoon she called the Holiday Inn in Perpignan to indicate them that they wouldn't fmish their stay
and that they were returning to the US and that the children luggage were to be shipped back directly to
them in the US.


On Saturday April 13 th Father received an email from Mother informing him that she had taken the kids
back to the US confirming that she had committed a full-fledged kidnapping in total violation of the
restraining order that she had told a French judge the week before in Paris she would never dare to
violate ...




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6 - FACTUAL AND LEGAL REASONS IN SUPPORT OF THE PRESENT REQUEST

The children's habitual residence is in France as they have been living with Father in Paris at his
residence since July 23rd 2023 as he was granted full custody of the children in France by the Paris
family court judgment from April 21st 2023. The children have been in their Paris historical school the
entire school year since early September 2023 until Mother and Grandmother committed a full-fledged
abduction on or about April 8th 2024 escaping illegally France and Europe in total violation of the
restraining order in place since August 25th 2023.

I, Father, have parental authority, which I exercise jointly with Mother under French law (Articles 371-
1 and 372 of the Civil Code).

The French Judgement from the Family Court in Paris is confirming that the presence of the children in
Oregon during the school year 2022-2023 was only temporary per the agreement made between the
parents in July 2022 in Paris which granted extended and continued home state jurisdiction to France
until their return to France in July 2023.

A removal of the children from France in the middle of the school year constitutes a gross denial of the
parental rights from Father in contradiction with both French Judgements from April 21st 2023 and
August 25th 2023.


7 - PROCEDURE IN CIVIL LAW, IN FRANCE AND IN THE REQUESTED STATE

There was a custodial determination made in Paris on April 21st, 2023 that confirmed that Mother and
children presence in Oregon was temporary, that Father continued to live in France and that the
children would be under Father's custody and their residence set in Paris and they would resume their
schools there next school year.

French case reference: RG 22/38495

Father registered the French Judgement in the Jackson County court in Oregon on May 9th 2023 under
case number 23DR08269.

Mother tried to make a competing custodial action in Oregon under case number 22DR17285 that was
filed after Father filed in France and he obtained judgment first in France. Which under the principle of
Committee makes the French judgment take priority over the Oregon judgment obtained afterwards
especially as it was done in bad faith by Mother and Father was denied due process by the Jackson
County court.

On August 25 th , 2023 Father obtained a restraining order that prevented the children from leaving
France to protect the first French judgment from April 21 s1, 2023 as Mother had clearly indicated that
she was not going to respect that French judgment and she was a high risk of kidnapping the children
from France to the US in total violation of Father's custodial rights.

French case reference: RG 23/37100




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8 - THE CHILD MUST BE RETURNED TO:

       Last name and first names: Paris Arnaud
       Date and place of birth: April 14th, 1978 in Longjumeau, France
       Citizenship: French-American
       Occupation: Technical Director VR
       Habitual residence: 13 rue Ferdinand Duval, 75004 Paris
       Parental relationship with the children: Father
       Phone number: +33688283641
       Email address: aparis@sysmicfilms.com


       Arrangements provided for the child's return:

       Return to the father's apartment in the 4th district of Paris where they also have their school.


9 - ADDITIONNAL COMMENTS

Mother and Grand Mother are under a criminal investigation in France for child abduction and
violation of the restraining order that they violated on French soil while the French judgment was in
full force and effect and no US custody judgment had been registered in France.

10 - LIST OF THE ATTACHED DOCUMENTS:

       01- Births Certificate
       0 2 - Children Pictures
       03 - Paris School certificates for both children for school year 2023-2024
       04 - Relevant articles of the French civil code in English
       05 - French Judgement of April 2023 granting full custody to Father in Paris.
       06 - French Judgement of August 2023 establishing restraining order on the girls in France.
       07 - Email from April 13th from Heidi Brown saying that she has taken the children to the US.
       08 - French Passports of the Children
       09 - Arnaud PARIS French passport
       10 -Arnaud PARIS US passport
       11 - Heidi BROWN US passport




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                                     AUTHORIZATION

Please accept this letter as written authorization, as may be required by Article 28 of the Hague
Convention of the Civil Aspects of International Child Abduction, empowering the Requested Central
Authority of France and of the USA or their designated representative, to act on my behalf.


Name of the applicant: PARIS Arnaud

Date: April 15th , 2023

Place: Paris, France

Signature:




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